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                              EXHIBIT A
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                                Case No.



    SECURITIES AND EXCHANGE COMMISSION,

                                          Plaintiff,

                                   v.

    STEVEN A. FERNANDEZ and
    MONICA M. O'MEALIA,

                                          Defendants.




                     CONSENT OF DEFENDANT STEVEN A. FERNANDEZ

           1.     Defendant Steven A. Fernandez ("Defendant") waives service of a summons and

   the complaint in this action, enters a general appearance, and admits the Court's jurisdiction over

   him and over the subject matter of this action.

          2.      Without admitting or denying the allegations of the complaint (except as provided

   herein in paragraph 12 and except as to personal and subject matter jurisdiction, which Defendant

   admits), Defendant hereby consents to the entry of the Final Judgment in the form attached hereto

   (the "Final Judgment") and incorporated by reference herein which, among other things:

          (a)     permanently restrains and enjoins Defendant from violations of Sections 5(a) and

                  5(c) of the Securities Act of 1933 (the "Securities Act") [15 U.S.C. §§ 77e(a) and

                  77e(c)] and Section 15(a)(l) of the Securities Exchange Act of 1934 (the

                  "Exchange Act") [15 U.S.C. § 78o(a)(l)];
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           (b)    orders Defendant to pay disgorgement, jointly and severally with Defendant

                  Monica M. O'Mealia, in the amount of $694,487 plus prejudgment interest thereon

                  in the amount of $60,530; and

           (c)    orders Defendant to pay a civil penalty in the amount of $75,000 under Section

                  20(d) of the Securities Act [15 U.S.C. § 77t(d)] and Section 21(d) of the

                  Exchange Act [15 U.S.C. § 78u(d)].

           3.     Defendant acknowledges that the civil penalty paid pursuant to the Final Judgment

   may be distributed pursuant to the Fair Fund provisions of Section 308(a) of the Sarbanes-Oxley

   Act of 2002. Regardless of whether any such Fair Fund distribution is made, the civil penalty shall

   be treated as a penalty paid to the government for all purposes, including all tax purposes. To

  preserve the deterrent effect of the civil penalty, Defendant agrees that he shall not, after offset or

   reduction of any award of compensatory damages in any Related Investor Action based on

   Defendant's payment of disgorgement in this action, argue that he is entitled to, nor shall he further

  benefit by, offset or reduction of such compensatory damages award by the amount of any part of

   Defendant's payment of a civil penalty in this action ("Penalty Offset"). Ifthe court in any Related

   Investor Action grants such a Penalty Offset, Defendant agrees that he shall, within 30 days after

   entry of a final order granting the Penalty Offset, notify the Commission's counsel in this action

   and pay the amount of the Penalty Offset to the United States Treasury or to a Fair Fund, as the

   Commission directs. Such a payment shall not be deemed an additional civil penalty and shall not

  be deemed to change the amount of the civil penalty imposed in this action. For purposes of this

  paragraph, a "Related Investor Action" means a private damages action brought against Defendant

  by or on behalf of one or more investors based on substantially the same facts as alleged in the

   Complaint in this action.



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           4.      Defendant agrees that he shall not seek or accept, directly or indirectly,

   reimbursement or indemnification from any source, including but not limited to payment made

   pursuant to any insurance policy, with regard to any civil penalty amounts that Defendant pays

   pursuant to the Final Judgment, regardless of whether such penalty amounts or any part thereof

   are added to a distribution fund or otherwise used for the benefit of investors. Defendant further

   agrees that he shall not claim, assert, or apply for a tax deduction or tax credit with regard to any

   federal, state, or local tax for any penalty amounts that Defendant pays pursuant to the Final

   Judgment, regardless of whether such penalty amounts or any part thereof are added to a

   distribution fund or otherwise used for the benefit of investors.

           5.      Defendant waives the entry of findings of fact and conclusions of law pursuant to

   Rule 52 of the Federal Rules of Civil Procedure.

           6.      Defendant waives the right, if any, to a jury trial and to appeal from the entry of the

   Final Judgment.

           7.      Defendant enters into this Consent voluntarily and represents that no threats, offers,

   promises, or inducements of any kind have been made by the Commission or any member, officer,

   employee, agent, or representative of the Commission to induce Defendant to enter into this

   Consent.

           8.      Defendant agrees that this Consent shall be incorporated into the Final Judgment

   with the same force and effect as if fully set forth therein.

           9.      Defendant will not oppose the enforcement of the Final Judgment on the ground, if

   any exists, that it fails to comply with Rule 65(d) of the Federal Rules of Civil Procedure, and

   hereby waives any objection based thereon.

           10.     Defendant waives service of the Final Judgment and agrees that entry of the Final



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  Judgment by the Court and filing with the Clerk of the Court will constitute notice to Defendant

  of its terms and conditions.

             11.   Consistent with 17 C.F.R. § 202.5(£), this Consent resolves only the claims asserted

  against Defendant in this civil proceeding.            Defendant acknowledges that no promise or

  representation has been made by the Commission or any member, officer, employee, agent, or

  representative of the Commission with regard to any criminal liability that may have arisen or may

  arise from the facts underlying this action or immunity from any such criminal liability. Defendant

  waives any claim of Double Jeopardy based upon the settlement of this proceeding, including the

  imposition of any remedy or civil penalty herein. Defendant further acknowledges that the Court's

  entry of a permanent injunction may have collateral consequences under federal or state law and

  the rules and regulations of self-regulatory organizations, licensing boards, and other regulatory

  organizations.     Such collateral consequences include, but are not limited to, a statutory

  disqualification with respect to membership or participation in, or association with a member of,

  a self-regulatory organization. This statutory disqualification has consequences that are separate

   from any sanction imposed in an administrative proceeding. In addition, in any disciplinary

  proceeding before the Commission based on the entry of the injunction in this action, Defendant

   understands that he shall not be permitted to contest the factual allegations of the complaint in this

   action.

             12.   Defendant understands and agrees to comply with the terms of 17 C.F.R.

   § 202.5(e), which provides in part that it is the Commission's policy "not to permit a defendant or

  respondent to consent to a judgment or order that imposes a sanction while denying the allegations

   in the complaint or order for proceedings," and "a refusal to admit the allegations is equivalent to

   a denial, unless the defendant or respondent states that he neither admits nor denies the



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   allegations." As part of Defendant's agreement to comply with the terms of Section 202.5(e),

   Defendant: (i) will not take any action or make or permit to be made any public statement denying,

   directly or indirectly, any allegation in the complaint or creating the impression that the complaint

   is without factual basis; (ii) will not make or permit to be made any public statement to the effect

  that Defendant does not admit the allegations of the complaint, or that this Consent contains no

  admission of the allegations, without also stating that Defendant does not deny the allegations; (iii)

  upon the filing of this Consent, Defendant hereby withdraws any papers filed in this action to the

  extent that they deny any allegation in the complaint; and (iv) stipulates solely for purposes of

  exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. § 523, that the

  allegations in the complaint are true, and further, that any debt for disgorgement, prejudgment

   interest, civil penalty or other amounts due by Defendant under the Final Judgment or any other

  judgment, order, consent order, decree or settlement agreement entered in connection with this

  proceeding, is a debt for the violation by Defendant of the federal securities laws or any regulation

  or order issued under such laws, as set forth in Section 523(a)(l 9) of the Bankruptcy Code, 11

  U.S.C. § 523(a)(l 9). If Defendant breaches this agreement, the Commission may petition the

  Court to vacate the Final Judgment and restore this action to its active docket. Nothing in this

  paragraph affects Defendant's: (i) testimonial obligations; or (ii) right to take legal or factual

  positions in litigation or other legal proceedings in which the Commission is not a party.

           13.    Defendant hereby waives any rights under the Equal Access to Justice Act, the

   Small Business Regulatory Enforcement Fairness Act of 1996, or any other provision of law to

  seek from the United States, or any agency, or any official of the United States acting in his or her

  official capacity, directly or indirectly, reimbursement of attorney's fees or other fees, expenses,

  or costs expended by Defendant to defend against this action. For these purposes, Defendant



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   agrees that Defendant is not the prevailing party in this action since the parties have reached a

   good faith settlement.

            14.   Defendant agrees that the Commission may present the Final Judgment to the Court

   for signature and entry without further notice.

            15.   Defendant agrees that this Court shall retain jurisdiction over this matter for the

   purpose of enforcing the terms of the Final Judgment.




   Dated:   7k/
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   appeared before me and acknowledged executing the foregoing Consent.
                                                          as"P"»,,           CHRISTINA MORIN          ,
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                                                 Notary Public
                                                 Commission expires:



   Approved as to form:




   Joel Hirschhorn, Esq.
   GrayRobinson, P.A.
   333 S.E. 2' Avenue, Suite 3200
   Miami, Florida 33131

  Attorneyfor Defendant




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